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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9    UNITED STATES OF AMERICA,
10                  Plaintiff,
11                                                          Case No. CR04-251L
             v.
12
                                                            ORDER CONTINUING TRIAL DATE
      KENNETH STONE, DEBRA STONE, and
13
      GEORGE CORRELL,

14
                    Defendants.

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            This matter comes before the Court on the motion to continue trial date raised by counsel
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     for defendant Kenneth Stone (Dkt. # 162). Based on the records and files herein and the
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     representations of defense counsel and the government, the Court finds that:
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            1.     The trial in this matter is scheduled for September 12, 2005;
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            2.     On July 25, 2005, counsel for defendant Kenneth Stone was involved in a serious
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     motorcycle accident that required hospitalization and surgery. Counsel has not completely
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     recuperated and currently is unable to walk;
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            3.     Counsel for defendant Kenneth Stone has advised this Court that he requires at
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     least a month to further recuperate in order to be able to be physically present to represent his
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     client in court. Counsel will not be physically capable of attending court to represent his client
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     on September 12, 2005;
26

27    ORDER CONTINUING TRIAL
      DATE                                            1
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 1          4.     After having conferred with their respective counsel, defendants Kenneth Stone,
 2   Debra Stone and George Correll each represented to the Court that they understood the reasons
 3   for the continuance and stipulated to the need for a continuance;
 4          5.     The government consents to the continuance; and
 5          6.     The ends of justice outweigh the best interests of the public and the defendants in
 6   a speedy trial. Failure to grant a continuance would deny defendant Kenneth Stone adequate
 7   representation in court because counsel would be unable to attend. Further, rescheduling the
 8   trial for November 14, 2005 ensures that counsel will be fully recuperated and prepared to
 9   represent his client in court.
10          For all the foregoing reasons, IT IS HEREBY ORDERED that the trial date is continued
11   from September 12, 2005 to November 14, 2005.
12          IT IS FURTHER ORDERED that pursuant to Title 18, United States Code, Section
13   3161(h), the period of time from the date of this order to the new trial date, November 14, 2005,
14   is excluded in the computation of time under the Speedy Trial Act.
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16          DATED this 9th day of September 2005.
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                                               A
21                                             Robert S. Lasnik
                                               United States District Judge
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27    ORDER CONTINUING TRIAL
      DATE                                            2
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